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Dhindsa (45) Date of Patent: *Apr. 22, 2003
(54) ENDOSCOPIC STONE EXTRACTION 6,096,053 A 8/2000 Bates
DEVICE WITH IMPROVED BASKET 6,099,534 A 8/2000 Bates
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(76) Inventor: Avtar S. Dhindsa, 3305 Greyfox Dr., oe a * erat pugita et al sevteneneenees 606/200
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SL) Inte C0 eee ce ceceeeeeeseeseeseeseenes A61M 29/00 ket,” U.S. Patent Application Ser. No. 10/022,061, filed Dec.
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(58) Field of Search .....0.0. 606/110, 113-115, “Endoscopic Stone Extraction Device with Rotatable Bas-
606/127, 200; 604/93 ket,”U.S. Patent Application Ser. No. 09/870,348, filed May
30, 2001; inventor: Avtar S. Dhindsa.
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4.927.426 A 5/1990. Dretler (74) Altorney, Agent, or Firm—Brinks Hofer Gilson &
5,066,295 A 11/1991 Kozak et al. Lione
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5,192,286 A 3/1993. Phan et al. 67) ABSTRACT
; 197,968 A . 3/1993 Naament \ An endoscopic stone extraction device includes a handle that
oon ‘ « 1008 Mee Terteeteeescens CORI supports a sheath, and a filament such as a wire slidably
5 406 330 A 3/1996 Bates coer disposed in the sheath. One end of the wire is mounted to the
5788710 A 3/1998 Bates handle for rotation with respect to the handle and the other
5,910,154 A 6/1999 Tsugita et al. end of the handle supports a stone extraction basket. A
5,911,734 A 6/1999 Tsugita et al. manipulator is provided on the wire to allow a user to rotate
5,957,932 A 9/1999 Bates the filament and therefore the basket with respect to the
5,989,266 A 11/1999 Foster handle. The basket can have a side-facing opening or a
6,015,415 A 1/2000 Avellanet rear-facing opening. In either case, a stone retention region
6,027,520 A 2/2000 Tsugita et al. is provided with relatively small openings sized to retain
eer ‘ S500 me et al. stones smaller than two millimeters in diameter.
6,077,274 A 6/2000 Ouchi
6,093,196 A 7/2000 Okada 8 Claims, 4 Drawing Sheets

 
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ENDOSCOPIC STONE EXTRACTION
DEVICE WITH IMPROVED BASKET

BACKGROUND

The present invention relates to basket-type devices for
extracting stones such as ureteral stones, calaceal stones and
other calculus and the like from the renal or biliary systems.

Various types of stone extraction baskets have been used
in the past to extract stones and stone fragments from
various biological systems. See for example the devices
shown in the following U.S. Patents: Bates U.S. Pat. No.
6,099,534, Okada U'S. Pat. No. 6,093,196, Ouchi U.S. Pat.
No. 6,077,274, Bilitz U.S. Pat. No. 6,059,796, Foster U.S.
Pat. No. 5,989,266, Bates U.S. Pat. No. 5,957,932, Bates
U.S. Pat. No. 5,788,710, Bates U.S. Pat. No. 5,496,330,
Dormia U'S. Pat. No. 4,612,931, and Segura U.S. Pat. No.
4,590,938.

A typical stone extraction basket includes a wire basket
carried by one end of a wire that is received within the lumen
of a sheath. The end of the wire opposite the basket is
secured to a handle that is used to slide the sheath over the
wire, thereby moving the basket into and out of the lumen
of the sheath. When the basket is out of the sheath, it
expands to receive a stone. The sheath is then moved toward
the basket to reduce the size of the basket openings, and the
basket and the enclosed stone are removed from the body.

Recently, ultrasonic, laser, and electro-hydraulic tech-
niques have been used to fragment stones in situ. Typically,
the stone fragments are left in the body to be excreted.
However, in some cases stone fragments may not be
excreted as quickly or as completely as desired. Conven-
tional stone extraction baskets are not optimized for the
extraction of shattered stone fragments. Thus, a need pres-
ently exists for an improved endoscopic stone extraction
device that is easier to use and better suited for the extraction
of stone fragments.

SUMMARY

The preferred embodiments described below include a
new type of stone extraction basket that is well suited to the
collection of small stone fragments.

In one embodiment, the stone extraction basket has a
large, side-facing opening to admit stones and stone frag-
ments into the interior of the basket, and over half of the
surface area of the basket is provided with relatively small
openings adapted to retain stones and stone fragments in the
basket. In another embodiment, the large openings of the
basket are oriented to face the sheath, and the stone retention
portion of the basket is disposed opposite the sheath.

The handle described below allows the basket to be
rotated inside the body, as for example to orient the basket
to admit a stone into the basket. The improved basket
designs described below facilitate the retention and extrac-
tion of small stone fragments.

The foregoing section has been provided by way of
general introduction, and it should not be used to narrow the
scope of the following claims.

BRIEF DESCRIPTION OF THE DRAWINGS

FIG. 1 is a perspective view of an endoscopic stone
extraction device that incorporates a preferred embodiment
of this invention.

FIG. 2 is a cross-sectional view taken along line 2—2 of
FIG. 1.

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FIGS. 3, 4 and 5 are detailed views of a thumb wheel
included in the embodiment of FIGS. 1 and 2.

FIG. 6 is an exploded perspective view of a portion of the
handle and the end portion of the wire of the embodiment of
FIGS. 1 and 2.

FIG. 6a is an exploded perspective view of the elements
73, 74 of FIG. 6 from another viewing angle.

FIG. 7 is a cross-sectional view corresponding to that of
FIG. 2 of a second preferred embodiment of this invention.

FIG. 8 is a fragmentary side view of selected elements of
the embodiment of FIG. 7.

FIGS. 9, 10 and 11 are enlarged perspective views of three
stone retention baskets suitable for use in the embodiments
of FIGS. 1-8.

DETAILED DESCRIPTION OF THE
PRESENTLY PREFERRED EMBODIMENTS

Turning now to the drawings, FIG. 1 shows an endoscopic
stone extraction device 10 that incorporates a preferred
embodiment of this invention. The device 10 includes a
handle 12 that in turn includes a grip 14 and a slide 16. As
explained in greater detail below, the slide 16 is mounted to
slide longitudinally along the length of the grip 14.

A tubular sheath 18 is secured to the slide 16. The sheath
18 defines a lumen 19, and the sheath 18 can be formed of
any suitable flexible material, including the materials
described in the above-identified prior-art patents. A strain
relief collar 20 is provided at the point where the sheath 18
is secured to the slide 16 to reduce the incidence of kinking.

The device also includes a filament 22 having a first end
24 (FIG. 2) and a second end 26 (FIG. 1). The first end 24
is rotatably secured to the grip 14 (FIG. 2), and the second
end 26 supports a stone extraction basket. The filament 22
can be formed of any suitable material, and is typically
formed of a flexible metallic wire. Preferably, the first end 24
is thicker and stiffer than the second end 26 to facilitate
insertion and manipulation of the basket 28.

The following sections will first describe the handle 12 in
greater detail, before turning to alternative forms of the
basket 28.

The Handle 12

As best shown in FIG. 2, the handle 12 includes a tube 30
that defines a longitudinally extending slot 32. The tube 30
forms a bore 34 and terminates at one end in external threads
36. Protruding elements 38 extend away from the perimeter
of the tube 30 to facilitate the grasping of the tube 30 by a
physician during use. For purposes of discussion, the portion
of the tube 30 adjacent the external threads 36 will be
referred to as the rear portion 42, and the opposite end of the
tube 30 will be referred as the front portion 40. The tube 30
may for example be formed of any suitable, moldable
thermoplastic material, though the widest variety of mate-
rials can be adapted for use with this invention.

Continuing with FIG. 2, the slide 16 includes a guide
cylinder 50 sized to slide along the bore 34 of the tube 30.
This guide cylinder 50 defines a central opening 52 sized to
pass the filament 22 with little or no friction therebetween.
The slide 16 also includes an arm 54 that extends from the
guide cylinder 50 through the slot 32 to a plate 56. The arm
54 holds the plate 56 in alignment with the centerline of the
tube 30. The slide 16 includes a gripping portion 58 that can
be pushed or pulled by a physician during use to move the
slide 16 along the longitudinal axis of the tube 30. As before,
a wide range of materials can be used for the slide 16,
including any suitable thermoplastic material.
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As shown in FIGS. 1-5, a disk 60 is provided. This disk
60 is positioned adjacent the front portion 40 of the tube 30.
The disk 60 is clamped onto the filament 22, and the disk 60
is rotatable with respect to both the tube 30 and the slide 16.
As shown in FIGS. 3-5, the disk 60 includes half-disks 66,
68 that snap together in a releasable manner. The half-disks
66, 68 carry respective elastomeric gripping portions 69
designed to grip the filament 22 therebetween when the
half-disks 66, 67 are snapped together.

As best shown in FIGS. 1, 2, 6 and 6a, the handle 12
carries a threaded cap 70 that defines a set of internal threads
sized to mate with the external threads 36. The cap 70
includes a socket 71 that bears on a chuck 72. When the cap
70 is tightened in place, the chuck 72 is held between the
socket 71 and an internal socket 31 formed by the tube 30.
The chuck 72 is free to rotate but not to translate with respect
to the tube 30.

The chuck 72 includes two parts 73, each having a central
groove 77 sized to clamp against the filament 22. The groove
77 may be lined with an elastometric layer to ensure good
frictional contact between the chuck 72 and the filament 22.
Each part 73 defines external threads, and the parts 73 are
clamped against the filament by a cap nut 74 such that the
chuck 72 rotates and translates in unison with the filament
22. The chuck 72 forms a convex surface 75 that engages the
socket 31, and a convex surface 76 that engages the socket
71. The surfaces 75, 76 are shaped to allow low-friction
rotation of the chuck 72 and the filament 22 relative to the
tube 30. Thus, the chuck 72 and associated elements carried
by the tube 30 form a rotational joint. Other types of
rotational joints may be used, including ball-and-socket
joints. For example, a ball-and-socket joint may be included
in the filament 22 near the first end 24, and the first end 24
may be fixed to the tube 30. Also, the filament may have an
enlarged end that forms part of the rotational joint, and the
enlarged end may be sized to fit through the lumen of the
sheath 18. Alternatively, the enlarged end may be too large
to fit through the lumen of the sheath, and may be removable
from the body of the filament 22, e.g. by disassembling the
enlarged end from the filament 22.

In use, the device 10 is assembled as shown in FIGS. 1
and 2. Initially, the slide 16 is advanced (i.e. moved to the
right in the view of FIG. 2) to move the sheath 18 over the
basket 28. This reduces the cross-sectional dimensions of the
basket 28 and facilitates insertion of the basket 28 into a
region of the body adjacent to the stone to be removed. The
slide 16 is then moved to the left in the view of FIG. 2 to
expose the basket 28, which resiliently assumes an enlarged
operational shape. As described in greater detail in the
following section relating to the basket, the basket defines
one or more large, stone-receiving openings, and in some
embodiments the stone-receiving openings are laterally fac-
ing. The physician can position the basket as desired by
manipulating the disk 60, thereby rotating the filament 22
and the attached basket 28.

It should be apparent from the foregoing discussion that
rotation of the disk 60 and the filament 22 occurs without
rotation of the sheath 18, the slide 16 or the handle 12. This
arrangement facilitates rotation of the filament 22 and the
basket 28 inside the lumen of the body cavity in which it is
inserted, since friction between the sheath 18 and the endo-
scopic device and between the sheath 18 and adjacent tissue
do not impede rotation of the filament 22 and the basket 28.
Rotation of the filament 22 is guided by the rotational joint
that includes the chuck 72. Once a stone has been captured
within the basket, the slide 16 is then moved to the right in
the view of FIG. 2 to move the sheath over at least a portion

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of the basket, thereby securely capturing the stone in the
basket for removal.

On occasion, it may be necessary to remove the handle 12,
the slide 16 and the sheath 18 while leaving the filament 22
and the basket 28 in place. This can readily be accomplished
by unscrewing the cap 70 from the handle 12, removing the
cap nut 74 from the parts 73, and then removing the parts 73,
handle 12, slide 16 and sheath 18 from the filament 22.

The disk 60 is an example of a manipulator used to rotate
the filament 22 relative to the handle 12. This manipulator
can take other forms, including the form shown in FIGS. 7
and 8. The embodiment of FIGS. 7 and 8 is similar to that
of FIGS. 1 and 2, except that the disk 60 has been replaced
by a lever 80. This lever 80 defines a free end 82 and hinged
end 84, and the free end 82 is positioned closer to the first
end 24 of the filament 22 than is the hinged end 84. During
normal use, the lever 80 is positioned as shown in FIG. 7 in
an extended position. In this position the user can apply
torques to the lever 80 and therefore to the filament 22 to
rotate the filament 22 as described above. The hinged end 84
is connected to the filament 22 at a hinged joint (e.g. a living
hinge or a multiple-part hinge) and the lever 80 can be
moved to the retracted position shown in dotted lines in FIG.
8. In this retracted position, the lever 80 can be moved
through the lumen of the sheath 18, thereby allowing the
handle, slide and sheath to be removed from the filament 22
as described above.

The Stone Extraction Basket 28

The stone extraction basket 28 of FIG. 9 is well adapted
for use as a calaceal stone extraction basket, and also in the
ureter when appropriate. This basket includes a stone
entrance region 100 and a stone retention region 102. The
retention region 102 extends over more than half the area of
the basket. This basket is formed by a set of longitudinal
basket wires 104 and a set of lateral basket wires 106. The
longitudinal basket wires 104 form a larger opening 108 in
the stone entrance region 100, and the basket wires 104, 106
cooperate to form a number of smaller openings 110 in the
stone retention region 102. In this embodiment, the larger
opening 108 is sized to admit a stone that is at least two
millimeters in diameter, and the smaller openings 110 are
sized to retain a stone smaller than two millimeters in
diameter. In one example, the larger opening is sized to
admit stones as large as 5 mm in diameter. The wires 104,
106 are preferably small, flexible, kink-resistant wires that
are capable of collapsing together to fit within the lumen 19.

In FIG. 9 the basket is shown in its operational configu-
ration in which the basket is fully outside of the lumen 19 of
the sheath 18. As described above, after a stone has been
captured within the basket of FIG. 9, the sheath 18 can be
moved over part of the basket 28 to reduce the size of the
larger opening 108. The basket 28 can also be used to
capture ureteral stone fragments.

It should be noted that the larger opening 108 faces
laterally with respect to a longitudinal basket axis extending
through the second end 26 of the filament 22. Because the
larger opening 108 is laterally facing, the filament rotating
features of the handle 12 described above can be used to
orient the larger opening 108 as desired to facilitate stone
capture. Also, in the event a stone is captured that is too large
to be removed from the body, the basket can be rotated to
point the larger opening 108 downwardly. In this orientation,
the weight of the stone tends to move it out of the basket.
Once this occurs, the basket can be removed from the body
and the stone fragmented using conventional lithothripsy
techniques.
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The basket 28' of FIG. 10 is similar to the basket 28 of
FIG. 9 except that the stone entrance region 100' is posi-
tioned adjacent the second end 26 of the filament 22, and the
stone retention region 102' is positioned opposite the second
end 26 of the filament 22. The basket 28' is well suited for
the collection of ureteral stone fragments after laser,
ultrasonic, or electro-hydraulic lithothripsy. Also, the basket
28' may be positioned proximally of a stone prior to litho-
thripsy to prevent stone fragments from migrating up the
ureter. In use, the collapsed basket 28' is moved past the
stone or stones to be collected, then the sheath 18 is moved
to allow the basket 28' to expand to the operational con-
figuration of FIG. 10, and then the basket 28' is moved to
collect the stones in the stone retention region. At this point,
the sheath 18 is moved over the filament 22 to collapse the
basket 28' partially, thereby retaining the captured stones in
the stone retention region 102'.

FIG. 11 shows a basket 28" that is similar to the basket 28
of FIG. 9 including a stone entrance region 100" and a stone
retention region 102". The main difference is that the basket
28" is shaped differently as appropriate for use as a percu-
taneous stone extraction basket.

The wires 104, 106 may be formed continuously with the
filament 22, or alternately they may be secured to the
filament 22. A variety of materials can be used for the wires
104, 106, but they should be sufficiently small in diameter,
flexible and kink-resistant to allow the baskets 28, 28', 28' to
be collapsed into the lumen 19. Super-elastic alloys such as
the shape memory metal alloys described in U.S. Pat. No.
5,989,266 are suitable. One such shape-memory material is
nitinol, which can be annealed as described in this patent.
Other materials known to those skilled in the art can readily
be used to form the baskets 28, 28', 28". The junction
between adjacent wires in the baskets 28, 28', 28" can be
secured in any suitable way, including sutures, adhesives,
and knots of the type described in U.S. Pat. No. 5,989,266.

The number of longitudinal basket wires 104 can be
varied with the application, and 2, 3, 4, 5, 6 or more
longitudinal wires can be used.

For the reasons discussed above, it is preferred to use the
baskets 28, 28', 28" with the handle 12 of FIGS. 1 and 2.
However, it should be clearly understood that the baskets of
this invention are not limited to use with any particular
handle, and a wide variety of handles can be used.

Conclusion

It should be apparent from the foregoing detailed descrip-
tion that improved endoscopic stone extraction devices have
been described that are well suited to the collection of a wide
variety of stones, including stone fragments. The stone
extraction devices described above can be used with the
widest variety of endoscopes, including ureteroscopes,
nephroscopes and other endoscopic devices.

As used herein, the term “stone” is intended broadly to
encompass a wide variety of biological stones, calculus and
the like, including fragments of stones, calculus and the like
formed by any of the techniques described above or other
techniques developed in the future. Urinary tract stones and
biliary tract stones are two examples.

The term “end portion” is intended broadly to encompass
the end of structure such as a filament along with an adjacent
portion of the structure.

The term “surface” is intended broadly to encompass
perforated surfaces.

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The foregoing detailed description has discussed only a
few of the many forms that this invention can take. For this
reason, this detailed description is intended by way of
illustration and not limitation. It only the following claims,
including all equivalents, that are intended to define the
scope of this invention.

What is claimed is:
1. An endoscopic stone-extraction device comprising:

a support filament comprising a first end portion and a
second end portion;

a sheath comprising a lumen, the support filament dis-
posed in the lumen such that the sheath is slideable with
respect to the support filament;

a collapsible stone-extraction basket carried by the first
end portion of the support filament and receivable
within the lumen of the sheath;

a handle comprising a sheath movement element, wherein
movement of the sheath movement element in a first
direction advances the sheath and causes the basket to
at least partially collapse inside the lumen of the sheath,
and wherein movement of the sheath movement ele-
ment in a second direction retracts the sheath and
causes the basket to expand to an operational shape
outside the lumen of the sheath;

the basket, when expanded to the operation shape outside
the lumen of the sheath, comprising a stone-entrance
region and a stone-retention region, the stone-entrance
region comprising a first opening sized to admit a stone
into the basket, the stone-retention region comprising a
plurality of second openings, all of the second openings
being smaller than the first opening;

the first opening facing the first end portion of the support
filament, the stone-retention region positioned on a side
of the basket opposite the first end portion of the
support filament;

wherein the basket comprises a set of longitudinal basket
filaments radiating from the first end portion of the
support filament and a set of lateral basket filaments
extending between the longitudinal basket filaments,
the lateral basket filaments positioned substantially
entirely in the stone-retention region of the basket.

2. The invention of claim 1 wherein the stone-retention
region defines an internally concave surface facing the first
end portion of the support filament.

3. The invention of claim 1 wherein the second openings
are all smaller than 2 mm in minimum dimension.

4. The invention of claim 3 wherein the first opening is
larger than 2 mm in minimum dimension.

5. The invention of claim 1 wherein the support filament
and basket are free of attachment to the sheath, such that the
entire basket is movable into the lumen of the sheath.

6. The invention of claim 1 wherein the second openings
are all smaller than 5 mm in minimum dimension.

7. The invention of claim 1, wherein movement of the
sheath movement element in the first direction causes the
basket to completely collapse inside the lumen of the sheath.

8. The invention of claim 1, wherein the sheath movement
element comprises a slide, wherein the handle comprises a
grip, and wherein the slide is mounted for translation relative
to the grip.
